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                      IN THE UNITED STATES DISTRICT
                                                    clifTEIVED
                      FOR THE MIDDLE DISTRICT OF AiLin  A
                               NORTHERN DIVISION
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                                                                P. H.:.71•;ETT. CLK
JONATHAN SINGLETON,RICKY                                                  COLIRT
VICKERY, AND MICKI HOLMES,                                                    ALA

        Plaintiffs,

v.

CITY OF MONTGOMERY,ALABAMA,                    Case No. 2:20-cv-99
DERRICK CUNNINGHAM,in his
official capacity as Sheriff for
Montgomery County, and HAL TAYLOR,
in his official capacity as Secretary of the
Alabama Law Enforcement Agency,


        Defendants.


 MEMORANDUM IN SUPPORT OF PLAINTIFFS'MOTION FOR PRELIMINARY
                        INJUNCTION
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   I.      Introduction

        The solicitation of charitable donations is protected speech. Laws seeking to constrain

solicitation have consistently been struck down as content-based speech prohibitions, violative of

the First Amendment for targeting speech because of the message expressed. Additionally, the

Supreme Court has long held that communication in public spaces deserves the highest protections

against government interference, lest state regulation chill speech in fora traditionally held open

for the public exchange of ideas.

        Jonathan Singleton, Ricky Vickery, and Micki Holmes(the "Plaintiffs"), three residents of

Montgomery currently experiencing homelessness, face arrest, fines, and incarceration simply for

asking their fellow citizens fill- assistance. Through Ala. Code § 13A-11-9(a)(1) pFohibiting
                                                                                     I
begging("Begging Statute') and § 32-5A-216(b) prohibiting solicitation on highways("Pedestrian

Solicitation Statute')(collectively,"Statutes"), the City and County of Montgomery and State of

Alabama have criminalized the speech of its neediest citizens, banning or unconstitutionally

burdening all requests for assistance in public spaces in an effort to remove homeless individuals

from public view.

        These Statutes violate fundamental First Amendment principles without justification.

Neither the City, County,or State has marshalled any meaningful evidence to support the necessity

of these laws against solicitation. To the contrary, these policies simply telegraph disapproval for

homeless individuals without working to ameliorate their circumstances.

        A preliminary injunction enjoining the enforcement of the Begging Statute and the

Pedestrian Solicitation Statute is warranted because these laws are plainly unconstitutional, and

Plaintiffs are therefore likely to succeed on the merits. Further, Jonathan Singleton, Ricky Vickery,

and Micki Holmes suffer irreparable harm because the laws criminalize their First Amendment



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right to publicly solicit their fellow citizens for assistance. Enjoining these laws is in the public

interest, and the threatened injury to Plaintiffs outweighs any potential harm that a preliminary

injunction might cause Defendants.

               Factual Background

      a. Alabama and Montgomery Have a Significant Homeless Population.

            In 2019, Alabama had at least an estimated 3,261 residents experiencing homelessness on

any given day.I Of that total, 236 were families, 292 were veterans, 320 were unaccompanied

young adults, and 369 experienced chronic homelessness.2 Public school data reported to the U.S.

Department of Education during the 2016--2017 school year shows that at least an estimated 14,112

public school students in Alabarna experienced homelessness over the course of the year.3 In

Montgomery County, at least 369 people are homeless on any given night, or 9.6 people per 10,000

people in the general population.4 The State saw the second largest increase in homeless veterans

across the country in 2018,5 and Montgomery had 542 homeless veterans that year.6



I Alabama Homelessness Statistics, United States Interagency Council on Homelessness (Jan. 2019),
https://www.usichs.ov/homelessness-statistics/a1/, attached as Exhihit A to the Declaration of Clara Potter
("Potter Decl."), filed herewith. This figure is likely an underestimate. As the National Law Center on
Homelessness & Poverty reported in an extensive 2017 report, these formal statistics often undercount the
number of individuals actually experiencing homelessness at any given moment. See Don't Count On It:
How the HUD Point-in-Time Count Underestimates the Homelessness Crisis in America, The National
Law Center On Homelessness & Poverty(2017), https://nIchp.orgiwp-content/uploads/2018/10/HUD-PIT-
report2017.pdf, attached as Exhihit B to Potter Decl.
2
    Id.
3 See Exhibit    A to Potter Decl.
  Alabama, National Alliance to End Homelessness (2018), https://endhomelessness.or&homelessness-in-
americathomelessness-statistics/state-of-homelessness-report/alabama/, attached as Exhibit C to Potter
Decl.
5 Christopher Harress, More Alabama Veterans Struggle with Homelessness, AL.com (Nov. 13, 2018),
https://www.al.corninews/20 I 8/1 Uhorneless-veterans-in-alabaina-on-the-rise.html.
6 2007-2018 Point-in-Time  Estimate by COC,PIT Estimate, 2018 PIT Estimate of Veteran Homelessness
in the U.S., FruD Exchange(Nov. 2018), https://www.hudexchanae.info/resource/5772/2018-pit-estimate-
of-veteran-homelessness-in-the-us/, attached as Exhibit D to Potter Decl.

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    b. Defendants Enforce Statutes That Criminalize Panhandling.

        Instead of helping people exit homelessness by providing services to support them, the

State and City have passed and enforce laws to criminalize requests for assistance.

        The Begging Statute makes it a violation to "loiter[], remain[] or wander[] about in a public

place for the purpose of begging." Ala. Code § 13A-11-9(a)(1), attached as Exhibit E to Potter

Decl. This amounts to a total ban on all solicitation activity in public spaces across the State,

including all public spaces in the City of Montgomery.

        The Pedestrian Solicitation Statute makes it a crime for any person to "stand on a highway

for the purpose of soliciting employment, business, or contributions from the occupant of any

vehicle, nor for the purpose of distributing any article, unless otherwise authorized by official

permit ofthe governing body ofthe city or county having jurisdiction over the highway." Id. § 32-

5A-216(b), attached as Exhibit F to Potter Decl.7

        These two Statutes are incorporated into the Montgomery City Code through a separate

ordinance that explicitly adopts all state misdemeanors and violations, thereby enabling the City

to concurrently enforce the Statutes alongside ALEA and the Montgomery Sheriffs Department.

See Montgomery, Ala. Code § 1-9(a)-(b). Both Statutes are silent as to their purpose, and no

legislative history is available to explain the Legislature's reasons for passing these laws.8



 The terrn "highway" has the same definition as "street," compare id. § 32-1-1.1(24) with § 32-1-1.1(74),
and encompasses "every way publicly maintained when any part thereof is open to the use of the public for
purposes of vehicular travel." Id. § 32-1-1.1(24),(74). The highway includes the "entire width between the
boundary lines" of a street, including the shoulder, berm and median areas. Op. Atty. Gen. No. 95-00308,
1995 WL 18097025(Aug. 29, 1995).
8 "Alabama   does not create or maintain typical legislative-history material such as committee reports and
records of hearings." State v. $223,405.86, 203 So. 3d 816, 832 n.8 (Ala. 2016). The commentary to the
Pedestrian Solicitation Statute does not address the law's purpose. The Commentary to the Begging Statute
simply describes the law as a "valid vagrancy statute and recounts that earlier versions of the law that
intended to "nip crimes in the bud" were found unconstitutional on grounds of vagueness, overbreadth, and
the status crime doctrine. See Ala. Code § 13A-11-9 Commentary. The Commentary notes that the current


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          Those prosecuted by the City under either statute face fines ofup to $500 and imprisonment

in the city jail or hard labor for up to six months. Id. § 1-9(d), 1-6(c)(incorporating violations of

state law as offenses against the City and setting out municipal punishment scheme for such

violations).9 From July 2018 through December 2020, Montgomery Municipal Court records

report 35 charges of violating the Begging Statute and 394 charges of violating the Pedestrian

Solicitation Statute.I° Individuals have been sentenced to up to 180 days in jail, with 24 months of

supervision and over $450 court fees:

      1/10/2019   DEFENDAKE %LOY;%MED 100 DAYS; 170 DAYS SUSFENDEDU4UST SERVE 10 DAYS; FRE AM)COM'COST; 24 NOS COURT SUMMON;DEFT RES1OEXT OF
                  FRENOSHIP OiSSiON PEI JUDGE YKKERS


See Docket Entry for Case No. 2019CRA000781, attached as Exhibit G to Potter Decl.; see also

Docket Entry for Case No. 2019TRT018525, attachedl as Exhibit J to Potter Decl. Each of these




language was intended to punish begging, but only certain types of begging—not "that which is done by
those who have suffered some misfortune which necessitates their selling pencils, apples or the like which
the 'customer' really isn't supposed to accept after payment."Id.
         However, vagrancy laws in America, including earlier versions of the Begging Statute, have
historically been employed as tools of racial subjugation and oppression. Indeed, the Supreme Court noted
that "vagrancy laws were used after the Civil War to keep former slaves in a state ofquasi slavery," singling
out Alabama's statute in particular for critique. City ofChicago v. Morales, 527 U.S. 41, 54 n. 20 (1999).
Current anti-panhandling laws derive from discriminatory practices and continue to have disproportionately
adverse impacts on people of color. See, e.g., The Wrong Side of History: A Comparison of Modern &
Historical Criminalization Laws, Javier Ortiz and Matthew Dick (May 2015), attached as Exhibit H to
Potter Decl.; see also Housing Not Handcuffs: A Litigation Manual, National Law Center on Homelessness
& Poverty 13 (2018), https://nIchp.org/wp-content/uploads/2018/10/Housing-Not-Handcuffs-Litigation-
Manual.pdf(noting that laws targeting homeless individuals perpetuate "de facto and historically generated
racial discrimination," as it is estimated that "some 50% of homeless people are African American although
they constitute only 12% of the U.S. populatioe), attached as Exhibit I to Potter Decl.
9 Those  prosecuted by the State or County face sentences of up to 30 days and a fine of up to $200 under
the Begging Statute, Ala Code.§§ 13A-5-12(b), 13A-5-7(b),and sentences under the Pedestrian Solicitation
Statute that vary depending on the frequency of conviction, including up to three months and a $500 fine
for three or more offenses in a year, id. § 32-5A-8(a).
io Spreadsheet of Begging and Pedestrian Solicitation Charges, attached as Ex. O to Potter Decl.



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individual charges has attendant City resource expenditures—including expenses associated with

law enforcement, prosecutions, and possible jail time.

    c. Despite Repealing a City Panhandling Ban, the City Continues to Enforce the State
       Panhandling Bans.

        In July 2019, the City of Montgomery passed Ordinance No. 24-2019, attached as Exhibit

K to Potter Decl., to criminalize all panhandling in the City and impose a fine and mandatory jail

time for all violations. The Ordinance was enacted after only very briefdiscussion at a City Council

work session and meeting." After a large public outcry, letters demonstrating the

unconstitutionality of the Ordinance, and meetings about the problems with the Ordinance and

Statutes, the City voted at a meeting in November 2019 to rescind the Ordinance. The City has

not, however, taken any action lo exlempt the Statutes from its ordinance incorporating all tate

 misdemeanors and state violations into its municipal code.

    d. Defendants' Enforcement of the Panhandling Bans Harms Plaintiffs.

        The experiences of the named Plaintiffs in this action demonstrate the harm of these laws.

PlaintiffJonathan Singleton, a homeless resident of Montgomery who lives under one ofthe City's

bridges or pays $10 to sleep on a person's porch, has been ticketed or jailed six times for

 panhandling by the Montgomery Police Department. See Court Records of Jonathan Singleton,

attached as Exhibit L to Potter Decl.;see also Singleton Decl. TIE 2,7. Most recently, on September

30, 2019, he was given a ticket for standing on the grass near a highway exit with a sign which

read:"HOMELESS.Today it is me,tomorrow it could be you." Id. TT 8, 9.. He chose this message



'I     See    City     of Montgomery            Work      Session,   at    0:44    (Jul.   2,     2019),
 https://www.youtube.com/watch?time continue=78&v= m7OeA aQIc; Montgomery City Council
Meeting, at 4:30 (July 2, 2019), https://youtu.be/THGN4vK-sKY; see also WSFA, Montgomery Mayor
Delays Panhandler Plan Amid SPLC Lawsuit Threat, https://www.wsfa.com/2019/07/10/splc-threatens-
sue-over-montgomery-panhandler-plan/ (quoting the Mayor stating, "I was surprised, frankly, that it was
 brought up while I was gone, and that with almost no conversation as to how you implement it, asking the
 police how you might enforce it, that there was a 9-0 vote.").

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to try to connect with other residents, emphasizing that "you never know what a person has been

through until you ask them." Id. ¶ 8. Due to his homelessness, Mr. Singleton has struggled to

secure stable employment, which in turn has perpetuated his inability to afford housing, and also

contributed to his difficulties with properly treating his chronic illnesses, including pancreatitis,

uncontrolled diabetes, and kidney failure. Id. TIT 3, 4.

       For Mr. Singleton, requesting assistance from others is the only viable way to obtain money

for survival, given the dearth of available support services in the City of Montgomery. Singleton

Decl. VT 5,14. But engaging in solicitation comes at great personal cost. Police officers and

strangers alike have treated Mr. Singleton with cruelty. Id.     TT 6,   11. For instance, strangers

frequently criticize himi casting aspersions by accusing him of lying about hiis homelessness,
                        I                                                        I
telling him to find employment, and threatening to call the police. Id. ¶ 6. One officer even told

Mr. Singleton that "it is a crime to be homeless in Montgomery." Id.         ¶ 10. Because of this
harassment, Mr. Singleton has a constant fear of arrest that has led him to feel lonely, scared, and

anxious. Id. 1112, 13.

       Plaintiff Ricky Vickery is also a homeless resident of Montgomery. Since arriving in

Montgomery in 2018, he has been ticketed or jailed about fifteen times for panhandling by the

Montgomery Police Department. See Court Records of Ricky Vickery, attached as Exhibit M to

Potter Decl.; Declaration of Ricky Vickery ("Vickery Decl.") ¶ 3. However, without adequate

services offered by the City or State, he has little choice but to continue, despite fear of arrest.

Vickery Decl. TIT 7, 8. When he panhandles, Mr. Vickery often holds a sign that says "homeless

and hungry," which prompts conversations and interactions with passersby about his

homelessness.Id. ¶ 5. He,too, has experienced cruel behavior which has left him feeling degraded,

humiliated, and afraid of arrest or mistreatment at the hands of the police. Id. ¶ 6, 7. And, as a



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result of being unsheltered, he suffers physically and is often exposed to the elements—extreme

heat in sumrner and cold in winter. Id. ¶ 7.

       Plaintiff Micki Holmes' experiences are similar. Over the past year, Mr. Holmes has had

to panhandle to s.upport himself and his wife, for whom he is the primary caregiver due to her brain

damage from chronic mold exposure and seizures. Declaration of Micki Holmes("Holmes Decl.")

im 1, 7, 8. He began panhandling in December 2018 after being evicted on Christmas Eve from a

motel in which they were staying. Id. ¶ 3. While panhandling, Mr. Holmes carries a sign that says

"homeless." Id.¶14. This sign, which he uses to initiate conversation with individuals from whom

he requests assistance, has been confiscated by the Montgomery Police Department, and he has

been ticketed and threatened with arrest on multiple occasions.Id. T 5;see also Solicitation Ticket

of Micki Holmes, attached as Exhibit N to Potter Decl. He is especially fearful of arrest because,

in his absence, his wife will not have the critical support she relies on to manage her medical

conditions. Id. ¶ 8. But even with the great potential cost of arrest, he continues to have to rely on

the kindness of others for assistance by engaging in panhandling because of the lack of public

services for individuals in his position. Holmes Decl. TM 9, 10.

    III.      Argument
           A preliminary injunction is warranted where the moving party demonstrates: (1) a

substantial likelihood ofsuccess on the merits;(2)irreparable harm in the absence ofan injunction;

(3) that the threatened injury to the movant outweighs whatever damage the proposed injunction

may cause the opposing party; and (4) that an injunction would not disserve the public interest. FF

Cosmetics FL, Inc. v. City ofMiami Beach,866 F.3d 1290, 1298 (11th Cir. 2017). All four factors

weigh in favor of granting a preliminary injunction.

    a. Plaintiffs Are Substantially Likely to Succeed on the Merits of Their First
       Amendment Claims.


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           The Statutes are unconstitutional content-based restrictions on protected speech under

    clearly established Supreme Court precedent. The Court has long held, and recently reaffirmed in

    the seminal case Reed v. Town of Gilbert, that "[c]ontent-based laws—those that target speech

    based on its communicative content—are presumptively unconstitutional." 135 S. Ct. 2218, 2226

(2015). Reed emphasized that "[g]overnment regulation ofspeech is content based if a law applies

    to particular speech because of the topic discussed or the idea or message expressed." Id. at 2227.

    Such content-based restrictions on speech are subject to strict scrutiny. Since Reed, every court to

    have considered a categorical ban on panhandling has struck down the ban as violative ofthe First

    Amendment. See Thayer v. City of Worcester, 755 F.3d 60 (1st Cir. 2014), vacated, 135 S. Ct.

    2887(2015), declaring ordinance unconstitutional on remand, 144 F. Supp. 3d 218, 233, 228(D.
I
    Mass. 2015)(noting that "all of the Courts which have addressed similar laws since Reed have

    found them to be content based and therefore, subject to strict scrutiny" and striking down

    substantially similar law making it "unlawful for any person to beg, panhandle or solicit any other

    person in an aggressive manner"); see also, e.g., Norton v. City ofSpringfield, 806 F.3d 411, 412

    (7th Cir. 2015)(striking down law banning panhandling as a "request for an immediate donation

    of money"); Homeless Helping Homeless, Inc., v. City of Tampa, No. 8:15-cv- 1219, 2016 WL

    4162882, at *1 (M.D. Fla. Aug. 5, 2016) (finding unconstitutional law that "ban[ned] the

    solicitation of'donations or payment"'in large geographic swaths ofthe city, akin to the Pedestrian

    Solicitation Statute).

           Even if the laws could somehow be construed after Reed and the subsequent uniform

    precedent as content-neutral, they are unconstitutional time, place, and manner restrictions. In

    traditional public fora, the government may regulate the time, place, or manner ofprotected speech

    only if such regulation is narrowly tailored to serve a legitimate, content-neutral interest. Ward v.



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Rock Against Racism, 491 U.S. 781, 798 (1989). However, it rnust "leave open arnple alternative

channels of communication."Smith v. City ofFort Lauderdale, 177 F.3d 954,956(11 th Cir. 1999)

(quoting Peny Educ. Ass'n v. Peny Local Educators'Ass'n,460 U.S. 37,45(1983)). The Statutes

are neither narrowly tailored, nor do they leave open alternative channels of communication;

indeed, the Begging Statute is a ban on all solicitation activity applicable to the entire State, and

the Pedestrian Solicitation Statute is a ban on all solicitation activity on all public streets across

the State. Therefore, both laws also fail under intermediate scrutiny as time, place, and manner

restrictions.

                i.   The Statutes Are Content-Based Restrictions on Protected Speech.

        Plaintiffs are substantially likely to show that the challenged Statutes are content-based
                                             I
restrictions on speech and therefore presumptively unconstitutional. In Reed, the Supreme Court

clarified that laws prohibit speech on the basis of content any time they target the underlying

substantive topic or message ofspeech and "cannot be justified without reference to the content of

the regulated speech." 135 S. Ct. at 2227. Any'law prohibiting speech on the basis of content is

"presumptively unconstitutional" and is subject to strict scrutiny. Id. at 2226.

        The Begging Statute restricts speech on the basis of content. The Statute is not simply a

prohibition on loitering writ large; it specifically makes loitering "for the purpose of begging"

illegal. Ala. Code § 13A-11-9(a)(1)."Mike other charitable solicitation, begging is speech entitled

to First Amendment protection[1"Smith, 177 F.3d at 956;see also Vill. ofSchaumburg v. Citizens

for a Better Env't,444 U.S. 620,632(1980)("[C]haritable appeals for funds ... involve a variety

of speech interests—communication of information, the dissemination and propagation of views

and ideas, and the advocacy of causes—that are within the protection of the First Amendment.");

Thayer, 144 F. Supp. at 232 ("Soliciting contributions is expressive activity that is protected by



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the First Amendment."). The Statute's prohibition on begging is meaningless without reference to

the subject matter of the regulated speech—Plaintiffs Holmes, Singleton, and Vickery may loiter

while expressing any message except their need for financial assistance. As such, the Begging

Statute overtly distinguishes between types of speech based on "subject matter[,] ... function or

purpose," Reed, 135 S. Ct. at 2227, and squarelY targets speech "because of the topic discussed."

Norton, 806 F.3d at 412 (finding panhandling ordinance that prohibited verbal requests for

immediate payments of money content-based in light of Reed); Thayer, 144 F. Supp. 3d at 233

(noting that "all of the Courts which have addressed similar [panhandling] laws since Reed have

found them to be content based"). Because Plaintiffs may engage in any speech except to beg, the

Begging Statute is a content-based regulation and therefore subject to strict scrutiny.

        For the same reasons, the Pedestrian Solicitation Statute is also a content-based restriction

on speech. The Statute targets solicitation of "employment, business, or contributions from the

occupant of any vehicle." Ala. Code § 32-5A-216(b). Individuals could stand by a public street

and express, for instance, political or religious messages to passersby without running afoul of the

law, but not request money or the means to earn money. These laws therefore prohibit and burden

speech based on "the idea or message expressed" and must be evaluated as content-based

restrictions. Reed, 135 S. Ct. at 2227.12



12 To the extent the Pedestrian Solicitation Statute allows individuals to apply for a permit, it still
impermissibly burdens speech as a content-based prior restraint. "A prior restraint exists 'when the
government can deny access to a forum for expression before the expression occurs.'" Bischoff v. Florida,
242 F. Supp. 2d 1226, 1247(M.D. Fla. 2003)(citing United States v. Frandsen, 212 F.3d 1231, 1235-37
(11th Cir. 2000))."Permitting ordinances ... are classic examples of prior restraints." Barret v. Walker Cty.
Sch. Dist., 872 F.3d 1209, 1223(11th Cir. 2017).
        The permitting process alluded to in the Pedestrian Solicitation Statute has none of the
constitutionally required procedural safeguards recognized by the Supreme Court: defmed and brief
temporal limits,judicial review, and a burden on the government to justify its permitting decisions in court.
Granite State Outdoor Advert., Inc. v. City ofSt. Petersburg, 348 F.3d 1278, 1281 (1 lth Cir. 2003)(citing
FW/PBS, Inc. v. Dallas,493 U.S. 215,227(1990)). Furthermore, the City and County have no authority to


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              ii.   The Statutes Cannot Survive Strict Scrutiny Because They Are Not
                    Narrowly Tailored to Serve a Compelling Government Interest.

        Content-based laws like the Statutes challenged here are subject to the most exacting

standard—strict scrutiny—because ofthe weightiness ofthe interests at stake. The Statutes cannot

survive the high burden of strict scrutiny because, as blanket content-based restrictions on speech,

they are not narrowly tailored to serve a compelling government interest. See Reed, 135 S. Ct. at

2227. Once the government identifies a compelling interest, it is the government's burden to show

that a law is narrowly tailored to meet that interest. ld. To be narrowly tailored,"the Government's

chosen restriction on the speech at issue must be 'actually necessary' to achieve its interest. There

must be a direct causal link between the restriction imposed and the injury to be prevented." See

United States v.,,lvarez, 567 U.S. 709, 725 (2012). Additionally, thelgovknment cannot create a

law that is over- or underinclusive, capturing substantially more or less speech activity than

necessary. The governrnent must show that "it is using the 'least restrictive means to further' [its

compelling interest]." Blitclz v. City ofSlidell, 260 F. Supp. 3d 656,670(E.D. La. 2017)(quoting

United States v. Playboy Entm't Grp., Inc., 529 U.S. 803, 813 (2000)). To do so,"the governrnent

must demonstrate that alternative measures that burden substantially less speech would fail to

achieve the government's interests, not simply that the chosen route is easier." McCzillen v.

Coakley, 573 U.S. 464,467(2014).

        The Begging Statute and Pedestrian Solicitation Statute are silent as to purpose, and there

is no legislative history on the topic available. See State v. $223,405.86, 203 So. 3d 816, 832 n.8

(Ala. 2016)("Alabama does not create or maintain typical legislative-history material such as



issue permits for solicitation on state highways, which are outside their jurisdiction. See Ala. Op. Att'y Gen.
No. 82-00014, 1981 WL 726044 (Oct. 20, 1981). And in practice, neither the City nor County of
Montgomery has established any permitting process at all. See Declaration of Symone Jackson.



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committee reports and records of hearings."). As discussed in note 8, the laws have no clearly

stated justification for banning solicitation. Moreover, there is no conceivable compelling

government interest to which the Statutes are narrowly tailored.

       For instance, the Statutes cannot be justified in the service of hypothetical traffic safety

goals, as traffic safety has not been recognized as a compelling interest in the Eleventh Circuit.

See Solantic, LLC v. City ofNeptune Beach, 410 F.3d 1250, 1267(11th Cir. 2005). A mere "'fear

ofsorneone being hurt and/or injured'[where Defendants are] unaware ofany accidents or injuries

caused by speech-related activities" is insufficient to support restrictions on begging and

panhandling. Thayer, 144 F. Supp. 3d at 235, 227. Instead, Defendants must allege facts showing

how specific safety problems would be solved by a panhandling ban. See Alvarez, 567 U.S. at 725.

       Here, Defendants have marshalled no evidence to support the proposition that peaceful

begging or solicitation on the highway, or anywhere else in the City, impinges on traffic safety.

The government cannot "merely affirm the uncontroversial proposition that pedestrian proximity

to high-volume roadways can be dangerous and the risk increases as vehicle speed increases."

Martin v. City ofAlbuquerque, 396 F. Supp. 3d 1008, 1032(D.N.M. 2019)(rejecting traffic safety

as a rationale for narrow tailoring in support of a law banning certain pedestrian activity in

particular locations).

       Even were the Statutes designed to protect a cornpelling traffic safety interest, they are not

narrowly tailored to achieve that end. By suggesting that it is designed to "nip crimes in the bud,"

the Begging Statute "recites those interests only at the highest order of abstraction, without ever

explaining how they are served by the [statute's] regulations generally." Solantic, 410 F.3d at

1267. What's more, the Begging Statute is both over- and underinclusive. It is overinclusive

because it is a cornplete ban on all solicitation across the State—the Begging Statute makes no



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attempt to cover only the most dangerous solicitation. Furthermore, even if Defendants could

support their assertions of dangerousness and allege an appropriate causal connection between the

Begging Statute and traffic safety, it is underinclusive for failing to ban other types of speech that

might put that safety at risk. A "law cannot be regarded as protecting an interest of the highest

order, and thus as justifying a restriction on truthful speech, when it leaves appreciable damage to

that supposedly vital interest unprohibited." Reed, 135 S. Ct at 2232(quoting Republican Party of

Minn. v. White, 536 U.S. 765, 780(2002)).

       The Pedestrian Solicitation Statute similarly prohibits all solicitation-oriented

communication on all public streets without any consideration of whether certain types ofrequests

for assistance or certain locations are more dangerous than others, or whether other types ofspeech

not included in its ban might be similarly dangerous. As such, the Pedestrian Solicitation Statute

is also both over- and underinclusive. For instance, a person could flag down a car traveling 80

miles an hour on an area of highway with little shoulder to ask for directions, but would be

prohibited from approaching a car stopped at a stop sign to ask for financial assistance. Without

particularity as to why certain speech is dangerous in particular locations, Defendants cannot show

that "each activity within the proscription's scope is an appropriately targeted evil." Frisby v.

Schultz, 487 U.S. 474, 485 (1988). Nor can Defendants present any evidence supporting a close

causal fit between the prohibitions and public or traffic safety. Consequently, the Statutes

simultaneously sweep too broadly and too narrowly.

        Further, existing laws adequately safeguard any traffic safety interests that might be served

by the Statutes, indicating that these are not the "least restrictive means to further" safety. Playboy

Entm't Grp., Inc., 529 U.S. at 813. To the extent the Statutes are meant to protect the safety of

drivers or pedestrians, occupying the roadways in a dangerous manner is also against the law in



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Alabama. See Ala. Code §§ 32-5A-212, 32-5A-215; Montgomery Code of Ordinance § 27-10.

Moreover, any purportedly "aggressive behavior frorn individuals requesting money is illegal

under existing statutes.I3 See, e.g., Ala. Code §§ 13A-11-7 (disorderly conduct), 13A-11-8

(harassment). In enacting the Statutes, the State provided no evidence that these other rnethods to

address the problem would not be equally effective. McLaughlin v. City ofLowell, 140 F. Supp.

3d 177, 193 (D. Mass. 2015)(requiring the City to show why the additional prohibition on and

penalties for panhandling were necessary where existing laws addressed the asserted safety

concerns); McCullen, 573 U.S. at 494 (requiring the state to show that alternative measures that

burdened less speech were ineffective to address the asserted public safety threat).

        Because the Statutes are not narrowly tailored to serve any conceivable compelling

government interest, they cannot survive strict scrutiny. Courts assessing content-based

panhandling bans since Reed have unanimously found the same. See, e.g., Norton,806 F.3d at 412

(striking down law prohibiting "oral request[s] for an irnmediate donation of money" as

unconstitutional after Reed because law was content-based and did not pass strict scrutiny); Blitch,

260 F. Supp. 3d at 671 (rejecting panhandling ban for lack of narrow tailoring under strict scrutiny,

noting that "[t]here is nothing illegal about being poor and needing assistance, and [the

government] cannot take a sledgehammer to a problem that can and should be solved with a

scalpel"(internal citations omitted)); Homeless Helping Homeless, Inc., 2016 WL 4162882, at *

2 (finding ban on solicitations for "donations or payment" was content-based and failed strict

scrutiny); Browne v. City ofGrand Junction, 136 F. Supp. 3d 1276, 1294(D. Col. 2015)(striking

down ordinance banning panhandling as content-based and not narrowly tailored under strict




13 The City of Montgomery has even employed these other laws against the Plaintiffs to the same effect.
See Singleton, Vickery, Holmes records, attached as Exhibits L, M,N to Potter Decl.

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scrutiny); Thayer, 144 F. Supp. 3d at 237 (striking down law under strict scrutiny, noting that

despite the City's "legitimate interest in promoting the safety and convenience of its citizens on

public sidewalks and streets," the City's aggressive panhandling ordinance prohibiting imrnediate

donations of money was "not the least restrictive means available to protect the public and

therefore, [did] not satisfy strict scrutiny").14 This Court should follow the example of this

overwhelming body of precedent.

            iii.   The Statutes Cannot Be Justified as Time, Place, and Manner
                   Restrictions on Speech.

       Reed clarified that restrictions like the Statutes are undoubtedly content-based. But even if,

despite the unanimity of caselaw, they could be considered content-neutral after Reed, the laws

still cannot pass ini,ermdiate scrutiny as regulations of die time, place, and -rianiner ofspeech. The

Begging Statute prohibits solicitation in all public spaces and the Pedestrian Solicitation Statute

prohibits solicitation on all public streets without a perrnit issued by a local government official.

In these traditional public fora, "[t]he state may [] enforce regulations of the time, place, and

manner of expression which are content-neutral, are narrowly tailored to serve a significant

government interest, and leave open ample alternative channels of communication." Perry Educ.

Ass'n, 460 U.S. at 45.

        As previously discussed in Part III-a-ii, these laws are not narrowly tailored to serve the

government's interests because they sweep far too broadly—neither differentiates between speech

that threatens the government's legitimate interests and that which does not. Because the Begging

Statute prohibits begging at all times and in all places and manners across the entire state of



14Indeed, even prior to Reed many courts found comparably-worded statutes unconstitutional. See, e.g.,
Reynolds v. Middleton, 779 F.3d 222, 224 (4th Cir. 2015)(comparable to Pedestrian Solicitation Statute);
Speet v. Schuette, 726 F.3d 867, 875 (6th Cir. 2013)(comparable to Begging Statute); Loper v. New York
City Police Dep't, 999 F.2d 699, 701 (2d. Cir. 1993)(same).

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Alabama, it is not narrowly tailored to serve a significant government interest. Similarly, the

Pedestrian Solicitation Statute is a categorical ban on all solicitation activity on all streets in

Montgomery, and across the State, without any consideration of whether certain streets are more

dangerous than others. Additionally, the City and State already have many laws on the books for

addressing the problems that these regulations purportedly target. See supra Part III-a-ii. As such,

these laws "burden substantially more speech than is necessary." McCullen, 573 U.S. at 486; see

also Reynolds, 779 F.3d at 231.

       And critically, "[b]ecause of the total prohibition [they] command[][these laws] do[] not

leave open alternative channels of communication by which [people who panhandle] can convey

their messages of indigency." Loper,999 F.2d at 705. The citizens of Montgomery, and Alabarna
                                                                     I
more broadly, must have "ample alternative avenues"for communication. Chase v. Town ofOcean

City, 825 F. Supp. 2d 599, 615 (D. Md. 2011) (citation omitted) (emphasis added). Here,

Defendants leave none. The bans are plainly "geographically over-inclusive because they blanket

all streets across the State, and indeed all public places in the State of Alabama. Cutting v. City of

Portland, 802 F.3d 79, 89(1st Cir. 2015).

       Courts have consistently held that bans on solicitation, panhandling, or other similar speech

violate intermediate scrutiny because they do not leave open sufficient channels ofcommunication.

See, e.g., McCullen, 573 U.S. at 497 (finding abortion clinic buffer zone regulation, though

content-neutral, was not narrowly tailored); Reynolds,779 F.3d at 232(striking down county-wide

ban on highway solicitation); Cutting, 802 F.3d at 89 (striking down ban on sitting or standing in

all medians in the city as "geographically over-inclusive because it did not leave open alternative

channels of communication); John Martin v. City of Albuquerque, No. CIV 18-0031, 2019 WL




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3557548, at *16 (D.N.M. Aug. 5, 2019). The Statutes similarly cannot withstand intermediate

scrutiny here.

   b. Plaintiffs are Suffering and Will Continue to Suffer Irreparable Injury in the Absence
      of Preliminary Injunctive Relief.

       "[A]n injury is 'irreparable' only if it cannot be undone through monetary damages." Cate

v. Oldham,707 F.2d 1176, 1189(11th Cir. 1983). A harm to speech rights is such an injury, which,

"because of[their] intangible nature, could not be compensated for by monetary damages." Scott

v. Roberts, 612 F.3d 1279, 1295 (11th Cir. 2010). "The loss 6f First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury." Elrod v. Burns, 427

U.S. 347, 373 (1976); see also Cate, 707 F.2d at 1189("One reason for such stringent protection

of First Amendment rights certainly is the intangible nature of the benefits flowing from the

exercise ofthose rights; and the fear that, if these rights are notjealously safeguarded, persons will

be deterred, even if imperceptibly, from exercising those rights in the future.").

       Injunctive relief is especially appropriate where the injury to Plaintiffs' rights is "direct

penalization, as opposed to incidental inhibition of First Amendment rights." KII Outdoor, LLC v.

City ofTrussville, 458 F.3d 1261, 1272(11th Cir. 2006). In fact, First Amendment harms are one

oftwo areas where the Eleventh Circuit has categorically declared that "an on-going violation may

be presumed to cause irreparable injury." Siegel v. LePore, 234 F.3d 1163, 1178 (11th Cir. 2000)

(noting that "the right of privacy and certain First Amendment claims establishing imminent

likelihood that pure speech will be chilled or prevented altogether" are two areas where irreparable

injury is presumed).

       Without a preliMinary injunction, Plaintiffs will continue to be irreparably harmed.

Plaintiffs all report fear of arrest or other reprisal for continued panhandling. See Holmes Decl. 11

10; Singleton Dec1.1113; Vickery Decl.118. The Statutes clearly burden Plaintiffs' constitutionally-


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protected speech rights in a manner that cannot be cured by monetary damages, penalizing their

continued exercise of their right to solicit. See Los Angeles Alliancefor Survival v. City ofLos

Angeles, 224 F.3d 1076, 1076 (9th Cir. 2000)(granting preliminary injunction in challenge to

solicitation statute where plaintiffs "would be irreparably injured absent the preliminary

injunctiorn; Chase v. City of Gainesville, No. 1:06-cv-044, 2006 WL 2620260, at *2(N.D. Fla.

2006)(finding irreparable injury and granting preliminary injunction where city imposed "fines

and arrests, for engaging in charitable solicitatiota

   c. The Threatened Injury to Plaintiffs Outweighs Any Potential Harm a Preliminary
      Injunction Might Cause Defendants.

       The threat of injury to Plaintiffs considerably outweighs any threat of harm to Defendants.

As discussed in the preceding sectionl the injury to Plaintiffs' First Amendment rights is substantiall

and irreparable. "Even a temporary infringement of First Amendment rights constitutes a serious

and substantial injury." KH Outdoor, 458 F.3d at 1270. Without preliminary injunctive relief,

Plaintiffs will continue to suffer violations of their First Amendment rights.

       Weighed against this harm, Defendants can claim no constitutionally cognizable interest

in enforcing laws that are facially unconstitutional. See id. at 1272("[T]he city has no legitimate

interest in enforcing an unconstitutional ordinance."); Joelner v. Village of Washington Park, 378

F.3d 613, 620 (7th Cir. 2004) C[T]here can be no irreparable harm to a municipality when it is

prevented from enforcing an unconstitutional statute because it is always in the public interest to

protect First Amendment liberties." (internal citations and quotation marks omitted)). Moreover,

a preliminary injunction would not undermine any of Defendants' conceivable interests. As

discussed in Part III-a-ii, Defendants have a vast arsenal ofspecific statutes and ordinances already

at their disposal to protect against the purported ills that the Statutes target. See, e.g., Chase, 2006

WL 2620260, at *3(holding that an injunction would not be adverse to the public interest because


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"[c]itizens' interests in remaining safe while walking or driving are served by other statutes and

codes available to law enforcement officers, and the public certainly has an interest in seeing that

its constitutional rights are protected.").15 Therefore, the threatened injury to Plaintiffs

overwhelmingly outweighs any harm to Defendants.

    d. A Preliminary Injunction Will Serve the Public Interest.

        The public interest also weighs in favor of granting preliminary injunctive relief on behalf

of Plaintiffs. "[T]he public interest is always served in promoting First Amendment values."

Chase, 2006 WL 2620260, at *3. When assessing the appropriateness of preliminary injunctive

relief where "the state is a party, the third and fourth considerations are largely the same." Scott v.

Roberts,612 F.3d 1279, 1290(11th Cir. 2010). Additionally,"Nile public interest does not support
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[Defendants1 expenditure of time, money, and effort in attempting to enforce [tatutes]
                                                                                   l   that may

well be held unconstitutional." Fla. Businessmen for Free Enter. v. City ofHollywood,648 F.2d

956, 959 (5th Cir. Unit B 1981).16 For these reasons, the public interest is served by enjoining the

enforcement of the Statutes.

    e. The Court Should Not Require Plaintiffs to Post a Security.

        The Court should issue injunctive relief without requiring Plaintiffs to post security. Rule

65(c) permits security to protect the other party from any financial harm caused by a temporary

injunction, but under this Circuit's "interpretation of Rule 65(c), the amount of security required

by the rule is a matter within the discretion of the trial court," which "may elect to require no




15 And Plaintiffs' court records indicate that the City is in fact using these other laws against Plaintiffs. See
Exhibits L, M,N to Potter Decl.
16 In Bonner v. City ofPrichard, 661 F.2d 1206, 1209 (11th Cir. 1981)(en banc), the Eleventh Circuit
adopted as binding all Fifth Circuit cases submitted or decided prior to October 1, 1981.

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security at all." City ofAtlanta v. Metro. Atlanta Rapid Transit Auth., 636 F.2d 1084, 1094 (5th

Cir. Unit B Feb. 1981)(internal citation and quotation marks omitted).

       Plaintiffs are indigent, and their inability to post security should not prevent them from

obtaining a court order to protect their constitutional rights. Holmes Decl. ¶ 2; Singleton Decl. ¶

2,3, 13; Vickery Decl.¶ 2;see also Wayne Chem. v. Columbus Agency Serv. Corp., 567 F.2d 692,

701 (7th Cir. 1977)(affirming no bond for indigent); Johnson v. Bd. ofPolice Comm'rs, 351 F.

Supp. 2d 929,952(E.D. Mo. 2004)(no bond for homeless plaintiffs).

       Further, Plaintiffs are "engaged in public-interest litigation, an area in which the courts

have recognized an exception to the Rule 65 security requirement" because requiring security

would deter others from exercising their constitutional rights. City ofAtlanta, 636 F.2d at 1094.

       Finally, as discussed in Part III-a, Plaintiffs have a substantial likelihood ofsuccess on the

merits. It has been thoroughly established by every court to consider this issue since Reed that laws

such as those challenged here clearly violate the First Amendment.See Moltan Co. v. Eagle-Picher

Indus., Inc., 55 F.3d 1171, 1176(6th Cir. 1995)("[N]o security was needed because ofthe strength

of[plaintiffs] case and the strong public interest involved.").

   IV.     Conclusion
       For the foregoing reasons, the Court should grant Plaintiffs' motion and enjoin Defendants

from enforcing the Begging Statute and Pedestrian Solicitation Statute.


       Dated: February 12, 2020.                      Respectfully submitted,



                                                      Ellen Degnan
                                                      On BehalfofPlaintiffs' Counsel

                                                      Ellen Degnan (ASB-3244-112V)
                                                      Micah West(ASB-1842-J82F)
                                                      Sara Zampierin (ASB-1695-S34H)


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                                     SOUTHERN POVERTY LAW CENTER
                                     400 Washington Avenue
                                     Montgomery, AL 36104
                                     T:(334)956-8200
                                     F:(334)956-8481
                                     E: ellen.degnan@splcenter.org
                                     E: micah.west@splcenter.org
                                     E: sara.zampierin@splcenter.org

                                     Clara Potter* (La. Bar No. 38377)
                                     SOUTHERN POVERTY LAW CENTER
                                     201 St. Charles Avenue, Suite 2000
                                     New Orleans, LA 70170
                                     T:(504)486-8982
                                     F:(504)486-8947
                                     E: clara.potter@splcenter.org

                                     Randall C. Marshall(ASB-3023-A56M)
                                     ACLU FOUNDATION OF ALABAMA
                                     P.O. Box 6179
                                     Montgomery, AL 36106
                                     T:(334)265-2754
                                     E: rmarshall@aclualabama.org

                                     Tristia Bauman*(D.C. Bar No. 1016342)
                                     NATIONAL LAW CENTER ON
                                     HOMELESSNESS & POVERTY
                                     2000 M Street NW,Suite 210
                                     Washington, D.C., 20036
                                     T:(202)638-2535 x. 102
                                     F:(202)638-2737
                                     E: tbauman@nlchp.org

                                     * applicationsfor pro hac viceforthcoming

                                     Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE


       I hereby certify that arrangements have been made to deliver a true and correct copy ofthe

foregoing by hand delivery to the following parties, at the below addresses:


       Hal Taylor, Secretary of Alabama Law Enforcement Agency
       301 South Ripley Street, Suite 3000
       Montgomery, AL 36104

       Derrick Cunningham
       Montgomery County Sheriffs Office
       115 South Perry Street
       Montgomery, AL 36103

       Steve Marshall
       State of Alabama Attorney General's Office
       501 Washington Avenue            1
       Montgomery, AL 36104
   I
       Brenda Gale Blalock
       City Clerk
       103 North Perry Street
       Montgomery, AL 36104


Formal proof ofservice will be filed with the Court when completed.


DATED this February /2—,2020.


                                                ea-,- 4.____
                                                 Ellen Degnan




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